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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                      3:10cr43/MCR

JOHNNIE MALLETY, JR.
                                 /


                       ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the plea agreement pursuant to Fed.R.Crim.P. 11(e)(2), the plea of
guilty of the defendant, JOHNNIE MALLETY, JR., to the two count indictment against
him is hereby ACCEPTED. All parties shall appear before this Court for sentencing
as directed.
      DONE AND ORDERED this 18th day of August, 2010.



                                       s/   M. Casey Rodgers
                                      M. CASEY RODGERS
                                      UNITED STATES DISTRICT JUDGE
